     Case 4:99-cr-00001-JRH-CLR Document 392 Filed 07/21/14 Page 1 of 1




                 UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF GEORGIA

                            SAVANNAH DIVISION


TERRELL GATJLDEN,

       Movant,

V.                                           Case No. CV414-123
                                                      CR49 9-001
UNITED STATES OF AMERICA,

       Respondent.

                              ORDER

       After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

     objections have been filed. Accordingly, the Report and Recommendation

of the Magistrate Judge is adopted as the opinion of the Court.

       SO ORDERED this .2( day of                        ,   2014.




                                   B. AVANT 1DEI4FIELD
                                   UNITED STATES DISTRICT DGE ( ~
                                   SOUTHERN DISTRICT OF GEORGIA
